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                             IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

      LISA ANNE-MARIE PARKER,

               Plaintiff,                                         Case No.: 1:23-cv-15887

      v.                                                          Judge Jeremy C. Daniel

      THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Sunil R. Harjani
      ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

               Defendants.



                                  SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on October 03,2023 [53] in favor

of Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

                NO.                                DEFENDANT
                157                              chenxuyangdedianpu


           THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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            12 , 2024
DATED: April__                                   Respectfully submitted,




                                                 Keith A. Vogt, Esq. (Bar No. 6207971)
                                                 Keith Vogt, Ltd.
                                                 33 West Jackson Boulevard, #2W
                                                 Chicago, Illinois 60604
                                                 Telephone: 312-971-6752
                                                 E-mail: keith@vogtip.com

                                                 ATTORNEY FOR PLAINTIFF(S)




                                                        12 ofApril, 2024.
Subscribed and sworn before me by Keith A. Vogt, on this_

Given under by hand and notarial seal.




                                          STATE OF-----------

                                                   c
                                                          _____
                                          COUNTYOF_ •_ ��-'(_


                                                      GRISELDA DELGADO
                                                         OFFICIAL SEAL
                                                  • Notary Public, State of Illinois
                                                     My Commission Expires
                                                         October 05, 2026
